                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


TRACY R. TURNER,                                )
                                                )
        Plaintiff,                              )        NO. 3:21-cv-00042
                                                )
v.                                              )        JUDGE RICHARDSON
                                                )
METROPOLITAN GOVERNMENT OF                      )
NASHVILLE & DAVIDSON COUNTY,                    )
                                                )
        Defendant.                              )


                                            ORDER

       In light of the pending motion for summary judgment (Doc. No. 24), the trial scheduled to

begin on October 4, 2022, as well as its corresponding pretrial deadlines, are CANCELED and

will be rescheduled, if appropriate, after resolution of the pending motion for summary judgment.

       IT IS SO ORDERED.


                                                    ___________________________________
                                                    ELI RICHARDSON
                                                    UNITED STATES DISTRICT JUDGE




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